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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                                 CASE NO.: 1:21-cv-21934-KMW

  WINDY LUCIUS,

         Plaintiff,

  v.

  FIVE STAR JEWELERS, INC.

        Defendant.
  __________________________________/

                 NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

         Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), with no responsive pleadings having yet been

  filed by Defendant FIVE STAR JEWELERS, INC., Plaintiff WINDY LUCIUS hereby gives

  notice that she voluntarily dismisses all claims against Defendant with prejudice, and requests that

  this Court terminate the action.

  Dated: July 1, 2021                   Respectfully submitted,

                                                /s/ J. Courtney Cunningham
                                                J. Courtney Cunningham, Esq.
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                                     CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on July 1, 2021, I electronically filed the foregoing document

  with the Clerk of the Court using the CM/ECF system.

                                                /s/ J. Courtney Cunningham
                                                J. Courtney Cunningham, Esq.
